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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

VENUSTIANO CARDOSO,                          §
#57189-177,                                  '
          Movant,                            '
                                             '   CIVIL NO. 3:22-CV-765-K
v.                                           '   (CRIMINAL NO. 3:18-CR-232-K-4)
                                             '
UNITED STATES OF AMERICA,                    '
         Respondent.                         '

             ORDER DENYING CERTIFICATE OF APPEALABILITY

       Considering the record in this case and pursuant to Federal Rule of Appellate

Procedure 22(b), Rule 11(a) of the Rules Governing § 2255 Proceedings for the United

States District Courts, and 28 U.S.C. § 2253(c), the Court DENIES a Certificate of

Appealability. Based on the Court’s Memorandum Opinion and Order, the Court finds

that the movant has failed to show (1) that reasonable jurists would find this Court’s

“assessment of the constitutional claims debatable or wrong,” or (2) that reasonable

jurists would find it “debatable whether the petition states a valid claim of the denial

of a constitutional right” and “debatable whether [this Court] was correct in its

procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).

       Rule 11 of the Rules Governing Section 2255 Proceedings for the United States

District Courts, as amended effective on December 1, 2019, reads as follows:

       (a) Certificate of Appealability. The district court must issue or deny a
           certificate of appealability when it enters a final order adverse to the
           applicant. Before entering the final order, the court may direct the
           parties to submit arguments on whether a certificate should issue. If
           the court issues a certificate, the court must state the specific issue or
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          issues that satisfy the showing required by 28 U.S.C. § 2253 (c)(2). If
          the court denies a certificate, a party may not appeal the denial but
          may seek a certificate from the court of appeals under Federal Rule of
          Appellate Procedure 22. A motion to reconsider a denial does not
          extend the time to appeal.
      (b) Time to Appeal. Federal Rule of Appellate Procedure 4(a) governs
          the time to appeal an order entered under these rules. A timely notice
          of appeal must be filed even if the district court issues a certificate of
          appealability. These rules do not extend the time to appeal the
          original judgment of conviction.

      In the event the movant will file a notice of appeal, the Court notes that he will

need to pay the applicable filing fee of $505.00 or move for leave to proceed in forma

pauperis on appeal.

      SO ORDERED.

      Signed April 13th, 2022.




                                                ED KINKEADE
                                                UNITED STATES DISTRICT JUDGE
